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 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10

11    JOHNNY WILLIAM JOHNSON, III,                      Case No. 3:18-cv-00496-LRH-WGC
12                       Petitioner,                    ORDER
13           v.
14    WARDEN GITTERE, et al.,
15                       Respondents.
16

17          This is a closed habeas corpus action under 28 U.S.C. § 2254. On April 16, 2020, the

18   court had found that petitioner Johnny William Johnson had not exhausted his state-court

19   remedies for all of his grounds for relief. ECF No. 32. The court directed Johnson to decide what

20   he wanted to do with those grounds, and the court noted that it made no guarantees about the

21   timeliness of a subsequently commenced federal habeas corpus action if he decided to voluntarily

22   dismiss the action. Id. at 4-5 Johnson decided to voluntarily dismiss the action. ECF No. 33.

23   On May 11, 2020, the court dismissed the action, again noting that it made no guarantees about

24   the timeliness of a subsequently commenced federal habeas corpus action. ECF No. 35.

25          On October 12, 2021, Johnson filed a letter, docketed as a motion, asking for additional

26   time to reopen this action so he can collect and file the proper paperwork. ECF No. 37. Johnson

27   stated incorrectly that the court had stayed this action. However, the court had not stayed this

28   action. The court had dismissed this action, without prejudice to filing a new habeas corpus
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     Case 3:18-cv-00496-LRH-WGC Document 40 Filed 12/02/21 Page 2 of 2



 1   petition in a new action, and the court had warned Johnson twice that he might have issues with

 2   timeliness by dismissing the action. The court told Johnson that he could not recharacterize the

 3   dismissal of this action as a stay of this action. The court denied the motion because there was no

 4   deadline that the court could extend. The court also told Johnson for the third time that he had

 5   dismissed the action without prejudice to commencing a new habeas corpus action, not a

 6   reopening of this action, and the court made no statement about the timeliness of that new habeas

 7   corpus action. ECF No. 38.

 8          Johnson now has filed another letter, docketed as a motion, asking for additional time to

 9   reopen this action so he can collect and file the proper paperwork. ECF No. 39. Johnson dated

10   the letter November 2, 2021, the court entered its prior order on November 3, 2021, and the court

11   received Johnson's letter on November 29, 2021. Although it is unusual for a letter to take 27

12   days in the mail, the possibility remains that Johnson's letter and this court's prior order crossed in

13   the mail. Nonetheless, no circumstances have changed, and the court's reasons for denying

14   Johnson's earlier motion apply with equal force to Johnson's current motion.

15          IT THEREFORE IS ORDERED that petitioner's motion for extension of time (ECF No.

16   39) is DENIED.

17          DATED: December 2, 2021.
18                                                                  ______________________________
                                                                    LARRY R. HICKS
19                                                                  United States District Judge
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